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                         IN THE UNITED STATES DISTRICT COURT

                          FOR THE NORTHERN DISTRICT OF OHIO

                                       EASTERN DIVISION


UNITED STATES OF AMERICA,                        ) CASENO.
                                                 )
                               Plaintiff,        ) JUDGE
                                                 )
               V.                                )
                                                 )
$92,924.00 IN U.S. CURRENCY,                     )
                                                 )
                               Defendant.        )
                                                 ) COMPLAINT IN FORFEITURE


       NOW COMES Plaintiff, United States of America, by Carol M. Skutnik, Acting United

States Attorney for the Northern District of Ohio, and Henry F. DeBaggis, Assistant U.S.

Attorney, and files this Complaint in Forfeiture, alleging, in accordance with Supplemental Rule

G(2) of the Federal Rules of Civil Procedure, as follows :

                           JURISDICTION AND INTRODUCTION

       1.      This Court has subject matter jurisdiction over an action commenced by the

United States under 28 U.S.C. Section 1345, and over an action for forfeiture under 28 U.S.C.

Section 1355(a). This Court also has jurisdiction over this particular action under 21 U.S.C.

Section 881(a)(6).

       2.      This Court has in rem jurisdiction over the defendant currency: (i) pursuant to 28

U.S.C. Section 1355(b)(l)(A) because acts giving rise to the forfeiture occurred in this district;

and, (ii) pursuant to 28 U.S.C. Section 1355(b)(l)(B), incorporating 28 U.S .C. Section 1395,
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because the action accrued in this district. This Court will have control over the defendant

currency through service of an arrest warrant in rem, which the Department of Homeland

Security by Homeland Security Investigations (HSI) will execute upon the defendant currency.

See, Supplemental Rules G(3)(b) and G(3)(c).

          3.      Venue is proper in this district: (i) pursuant to 28 U.S.C. Section 1355(b)(l)(A)

because acts giving rise to the forfeiture occurred in this district; and, (ii) pursuant to 28 U.S.C.

Section 1395 because the action accrued in this district.

          4.      On or about September 23 , 2024, Defendant $92,924.00 in U.S. Currency was

seized from the person and carry-on bags of Amadou Tidiane Balde (BALDE) at Cleveland

Hopkins International Airport, and the defendant currency is now in the custody of the federal

government.

          5.      Subsequent to the seizure, U.S. Customs and Border Protection' s (CBP) Fines,

Penalties & Forfeiture Office (FP&F) commenced an administrative forfeiture proceeding

against the defendant currency. A claim to the defendant currency was submitted by BALDE in

the administrative forfeiture proceeding, thereby requiring the filing of this judicial forfeiture

action.

          6.      Defendant $92,924.00 in U.S. Currency is subject to forfeiture to the United

States under 21 U.S.C. Section 881(a)(6) in that it constitutes proceeds from illegal drug

distribution activities, and/or was used - or was intended to be used - in exchange for illegal

controlled substances, and/or was used - or was intended to be used - to facilitate illegal drug

distribution activities.




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                                       FORFEITURE

       7.        On or about September 23 , 2024, HSI Task Force Officers (TFO) were

conducting airport interdiction at Cleveland Hopkins International Airport, and BALDE was

observed standing in the Group 2 boarding line at gate C2 l , in the C concourse for United

Airlines flight UA1482, which was scheduled to depart for Los Angeles.

       8.        TFO Gibbons observed BALDE in possession of three carry-on bags, identified

as: a black leather duffle bag; a green leather backpack; and a gray satchel.

       9.        TFO Gibbons' attention was further drawn to BALDE after he observed a bulge

in BALDE' s front left sweatshirt pocket, which TFO Gibbons believed to be bulk U.S. Currency.

TFO Gibbons also observed BALDE to be in possession of multiple cell phones.

        10.      After BALDE scanned his ticket at Gate C21 and entered the jet bridge to the

aircraft, TFO Gibbons approached BALDE, identified himself as a law enforcement officer,

asked to speak with BALDE, and BALDE agreed.

        11.      TFO Gibbons asked BALDE where he was traveling, and BALDE stated, Los

Angeles. TFO Gibbons asked BALDE how long he was going to be in Los Angeles and BALDE

stated that he currently lives in California. BALDE was asked how long he was in Ohio, and

BALDE stated only for a few days. BALDE could not remember the day he arrived in Ohio, and

stated he was in Ohio to drop off a title for a vehicle.

        12.      TFO Gibbons asked BALDE if he was in possession of a large amount of U.S.

Currency, and BALDE stated he had $2,000.00 or $3 ,000.00, in his front sweatshirt pocket.

TFO Gibbons asked BALDE ifhe had any U.S. Currency in his bags, and BALDE stated that he




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had U.S. Currency in his black duffle bag. TFO Gibbons asked BALDE how much total U.S.

currency he had in his possession, and BALDE stated he had a total of $70,000.00.

       13.    TFO Gibbons asked BALDE if he would walk to the HSI airport office to talk to

him further about the U.S. Currency in his possession, and BALDE agreed.

       14.    While walking to the HSI airport office, BALDE told TFO Gibbons that

previously he had $140,000.00 in U.S. Currency seized from him and his friend at the airport in

Detroit, Michigan, when they were traveling to Los Angeles.

       15.    BALDE stated to TFO Gibbons that he had bank receipts and pay stubs for all the

U.S. Currency in his possession and that the U.S. Currency in his possession was from several

businesses which he owned.

       16.    TFO Gibbons asked BALDE ifhe had any documentation or information relating

to the title for the vehicle that he mentioned, and the only information about the vehicle BALDE

provided was that it was a Mercedes Benz.

       17.    After they arrived at the HSI airport office, TFO Gibbons asked BALDE how

much U.S. Currency was in his possession, and BALDE stated he had $70,000.00 to $73 ,000.00

in his possession. TFO Gibbons asked BALDE where the U.S . Currency was located, and

BALDE stated he had U.S. Currency on his person and in his black duffle bag.

       18.    TFO Gibbons asked BALDE ifhe would remove the U.S. Currency from his

person and place it on the table, and BALDE agreed and did so. TFO Gibbons asked BALDE if

he had any U.S. Currency in his gray satchel, and BALDE stated that he just had "change" in his

gray satchel. TFO Gibbons asked BALDE ifhe would remove the U.S. Currency from the gray

satchel and place it on the table, and BALDE agreed and did so.




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BALDE for the locations of the gas station and grocery stores, and BALDE provided the

following locations:

               a.      622 Park Avenue, Rochester, New York (Stop One gas station),

               b.      300 Lake Ave., Rochester, New York (grocery store),

               c.      3670 Mount Read Blvd., Rochester, New York (grocery store), and

               d.      424 E. Ridge Rd. , Rochester, New York (grocery store).

BALDE stated that the fourth grocery store location was on Clifford Road in Rochester, New

York; however, BALDE could not recall the address on Clifford Road. Subsequent law

enforcement investigation determined:

               a.    A Stop One gas station is not located at 622 Park Avenue, Rochester, New
               York,

              b.   There is a Champion Auto Sales located at 300 Lake Ave., Rochester,
              New York,

              c.    A plaza is located at 3670 Mount Read Blvd., Rochester, New York, in
              which Mark' s Pizzeria, Mobile Solutions, Sky Nails, Cuts Unlimited, Rochester
              Jewelry, Pressure Palace Smoke and Vape Shop, Shawarma Restaurant, and New
              Fong Kitchen are located, and

               d.      There is no location on E. Ridge Rd. in Rochester, New York associated
               with the address 424 E. Ridge Rd. , Rochester, New York.

       24.     Although BALDE told TFO Gibbons that the currency in his possession was from

his mother's home in New York, and that he earned it at his grocery store and gas station

businesses in New York, when BALDE filed his claim for the return of the subject seized

currency, he included Chase Bank account records for the time period August 21 , 2024, to

September 30, 2024, for The Smoke Plug, LLC, in Cleveland, Ohio, Red Eye Vipe, LLC, in

Cleveland, Ohio, and Smoke City 645, LLC, in Cleveland Heights, Ohio. BALDE said nothing

to TFO Gibbons about these Cleveland area businesses when he was interviewed at the airport



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HSI office. BALDE's inclusion of the bank records of these Cleveland area businesses with his

claim, suggests that the seized currency was from cash withdrawals from these accounts;

however, the only significant withdrawals from these accounts were on dates after the seizure of

the subject currency, after September 23, 2024.

       25 .     Previously, on September 30, 2022, BALDE traveled to the Wayne County

Airport in Detroit, Michigan, when his flight from New York stopped in Detroit for a connecting

flight to Los Angeles.

       26.      After BALDE and his traveling companion, A.S., disembarked the plane and

entered the Detroit Airport terminal, law enforcement approached and asked BALDE why a

narcotic K9 would alert on his checked luggage, and BALDE stated, "I smoke a ton of weed."

BALDE consented to a search of his checked luggage and law enforcement searched BALDE's

luggage and found rubber-banded bulk cash hidden in clothing packed in the luggage.

Approximately $54,170.00 in U.S. Currency was seized from BALDE's luggage, approximately

$101,570.00 in U.S . Currency was seized from A.S.'s luggage, for a total of approximately

$155,740.00 in U.S. Currency seized from BALDE and A.S. on September 20, 2022.

       27.      After the seizure of the U.S. Currency from BALDE and A.S. at the Detroit

Airport, law enforcement determined that there was a state felony warrant for A.S. from

Laramie, Wyoming, for unlawful possession of a controlled substance and dangerous drugs, for

which extradition was requested, so A.S. was taken into custody. While A.S. was being taken

into custody, he handed all his jewelry to BALDE, and A.S. was heard to tell BALDE, "Go get

the 72k and bring it to LA asap."

       28.      After A.S. was taken into custody, A.S. made a phone call and a law enforcement

officer, fluent in Arabic, overheard A.S. speaking in Arabic during the phone call. While



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speaking in Arabic, A.S. told the party he was speaking with on the phone, to move money from

numerous houses in New York.

        29.      During his interview in Detroit, BALDE was asked ifhe ever had any narcotic-

related arrests, and BALDE stated, "Yes, I just got off probation." BALDE stated his probation

was out of Wyoming for having fifty pounds of marijuana in a vehicle. BALD E' s criminal

history in Wyoming includes arrests for Unlawful Possession of a Controlled Substance (2020);

Unlawful Manufacturing or Delivery of Schedule I Drug (2020); and Drugs Dangerous

(Attempts and Conspiracies) (2021).

        30,      The total amount of currency seized from the person and carry-on bags of

BALDE on September 23, 2024, at Cleveland Hopkins International Airport, was $92,924.00 in

U.S. Currency.

                                          CONCLUSION

        By reason of the foregoing, Defendant $92,924.00 in U.S. Currency is subject to

forfeiture to the United States under 21 U.S.C. § 881(a)(6) in that it constitutes proceeds from

illegal drug trafficking activities, and/or was used - or was intended to be used - in exchange for

illegal controlled substances, and/or was used - or was intended to be used - to facilitate illegal

drug trafficking activities.




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       WHEREFORE, plaintiff, the United States of America, requests that this Court enter

judgment condemning the defendant currency and forfeiting it to the United States, and

providing that the defendant currency be delivered into the custody of the United States for

disposition according to law, and for such other relief as this Court may deem proper.



                                                     Respectfully submitted,

                                                     CAROL M. SKUTNIK
                                                     Acting United States Attorney
                                                     Northern District of Ohio


                                             By:    r-1~
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                                        VERIFICATION


STATE OF OHIO      )
                   ) SS.
COUNTY OF CUYAHOGA )


       I, Henry F. DeBaggis, under penalty of perjury, depose and say that I am an Assistant

United States Attorney for the Northern District of Ohio, and the attorney for the plaintiff in the

within entitled action. The foregoing Complaint in Forfeiture is based upon information

officially provided to me and, to my knowledge and belief, is true and correct.




                                                     ( : ( ~o~
                                                      Assistant United States Attorney




       Sworn to and subscribed in my presence this      / / ~ay of February, 2025.




                                                      Notary Public
                                                                  DANIEL R. RAKKE, Attorney At Law
                                                                     ;Notaiy Public • State of Ohio
                                                                 My commission has no expiration dat~
                                                                        Section 147.03 0. R. r.
